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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Thomas Wagner, et al.,                                 Case No. 1:08-cv-00869-SSB-TSH

         Plaintiffs,

v.
                                                            NOTICE OF DISMISSAL
Capital Management Services, LP,                              WITH PREJUDICE

         Defendant.


         Now comes Plaintiff, by and through counsel, and hereby dismisses the present action

pursuant to Fed. R. 41(a) with prejudice. This notice is being filed before Defendant has served

an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Macey & Aleman, P.C.

                                              By: /s/ Richard J. Meier
                                                 Richard J. Meier
                                                 233 South Wacker Drive, Suite 5150
                                                 Chicago, IL 60606
                                                 Tel: 1.866.339.1156
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  Case: 1:08-cv-00869-SSB-TSH Doc #: 5 Filed: 07/16/09 Page: 2 of 2 PAGEID #: 13




                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt.

Capital Management Services, LP
726 Exchange St., Suite 700
Buffalo, NY 14210


                                               /s/ Richard J. Meier




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